Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 1 of 16 PageID: 723



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  THE TRUSTEES OF PRINCETON
  UNIVERSITY,
                Plaintiff,

                                 v.                            Civil Action No. 3:19-cv-
                                                               21248 (BRM)(LHG)
  TOD WILLIAMS BILLIE TSIEN
  ARCHITECTS, LLP; JACOBS
  ARCHITECTS/ENGINEERS, INC.; and
  JACOBS CONSULTANCY INC.,
                                                               Motion Date: July 6, 2020
                          Defendants.

  ----------------------------------------------------------
  TOD WILLIAMS BILLIE TSIEN
  ARCHITECTS, LLP,

                      Third-Party Plaintiff,

                            v.

  ARUP USA, INC. and F.J. SCIAME
  CONSTRUCTION COMPANY, INC.

                       Third-Party Defendants.


          Third-Party Defendant F.J. Sciame Construction Company, Inc’s
 Memorandum of Law in Opposition to Jacobs Architects/Engineers, Inc. and
     Jacobs Consultancy, Inc.’s Motion to Supplement and/or Amend
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 2 of 16 PageID: 724



                                             Table of Contents
 INTRODUCTION ................................................................................................. 1
 STATEMENT OF FACTS .................................................................................... 1
 LEGAL STANDARD ............................................................................................ 3
  A. Legal Standard on a Motion to Amend ........................................................... 3
   B. The Jacobs Defendants’ Proposed Amendments Against Sciame Fail to State
   a Claim Upon Which Relief Could be Granted and are Therefore Futile ............. 4
      1. The Jacob Defendants’ Claim for Indemnification Must Fail Because There
      is No Special Relationship Between the Parties ............................................... 4
      2. The Jacobs Defendants’ Claim for Contribution Must Fail Because Sciame
      is Not a Joint Tortfeasor................................................................................... 7
 CONCLUSION ....................................................................................................12




 SMRH:4812-9021-0752.1                                  -ii-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 3 of 16 PageID: 725



                                           Table of Authorities
                                                                                                        Page(s)
 Cases

 Ford Motor Co. v. Edgewood Props.
   2008 U.S. Dist. LEXIS 84776 (D.N.J. Oct. 16, 2008) .................................... 5, 6

 Ford Motor Co. v. Edgewood Props.
   U.S. Dist. LEXIS 80191 (D.N.J. Oct. 8, 2008) ................................................. 10

 Great W. Mining & Mineral Co. v. Fox Rothschild LLP
   615 F.3d 159 (3d Cir. 2010) ........................................................................... 3, 4

 Harter v. GAF Corp.
   150 F.R.D. 502 (D.N.J. 1993) ............................................................................4

 Kornblith v. Rothe
   1991 U.S. Dist. LEXIS 711 (D.N.J. Jan. 23, 1991) ............................................9

 Longport Ocean Plaza Condo., Inc. v. Robert Cato & Assocs.
   2002 U.S. Dist. LEXIS 16334 (E.D. Pa. Aug. 29, 2002) ....................................9

 McIlwaine v. Am. Honda Motor Co.
   2010 U.S. Dist. LEXIS 4679 (D.N.J. Jan. 19, 2010) ........................................ 11

 Meyers v. Heffernan
   2014 U.S. Dist. LEXIS 92117 (D.N.J. July 7, 2014) ..........................................9

 Mobile Dredging & Pumping Co. v. City of Gloucester
   2005 U.S. Dist. LEXIS 16601 (D.N.J. Aug. 4, 2005) ....................................... 11

 Premier Health Assocs., LLC v. Med. Tech. Sols.
    2019 U.S. Dist. LEXIS 57243 (D.N.J. Apr. 3, 2019)..........................................7

 SGS U.S. Testing Co. v. Takata Corp.
   2012 U.S. Dist. LEXIS 102650 (D.N.J. July 24, 2012) ......................................6

 State Capital Title & Abstract Co. v. Pappas Bus. Servs., LLC
    646 F. Supp. 2d 668 (D.N.J. 2009)................................................................. 3, 4

 Theobald v. Angelos
    44 N.J. 228 (N.J. 1965) .................................................................................... 11


 SMRH:4812-9021-0752.1                                 -iii-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 4 of 16 PageID: 726



 Verni ex rel. Burstein v. Harry M. Stevens, Inc.
    387 N.J.Super. 160 (App. Div. 2006) ......................................................... 11, 12

 Wartsila NSD N. Am., Inc. v. Hill Int’l, Inc.
   2004 U.S. Dist. LEXIS 28921 (D.N.J. June 22, 2004) ..................................... 11

 Wundrack v. Armstrong World Indus., Inc.
   1991 U.S. Dist. LEXIS 14526 (D.N.J. May 28, 1991) .......................................8

 Statutes

 N.J.S.A. 2A:53A-1 ..................................................................................................8

 N.J.S.A. 2A:53A-3. .................................................................................................8




 SMRH:4812-9021-0752.1                                   -iv-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 5 of 16 PageID: 727




 INTRODUCTION

                   Third-Party Defendant F.J. Sciame Construction Company, Inc.

 (“Sciame”) respectfully submits this memorandum of law, along with the

 Declaration of Emily D. Anderson dated June 22, 2020 (“Anderson Dec.”) in

 opposition to Defendant Jacobs Architects/Engineers, Inc. and Jacobs Consultancy,

 Inc.’s (“Jacobs Defendants”) Motion to Supplement and/or Amend the Answer,

 Affirmative Defenses, Counterclaim and Cross-Claim (“Motion to Amend”)

 (Document 42). The Jacobs Defendants seek to amend their pleadings by adding

 claims against Sciame for indemnity and contribution. Because these claims against

 Sciame are without basis in law, under Third Circuit precedent, the amendments

 should not be permitted and the motion denied.


 STATEMENT OF FACTS

                   As the Court is aware, this litigation arises out of a construction project

 for the for the design and construction of the Andlinger Center for Energy and the

 Environment (the “Project”), a new state-of-the-art building for Plaintiff The

 Trustees of Princeton University (“Plaintiff” or “Princeton”). (Anderson Dec., Exh.

 A, ¶ 12). Princeton, as owner, contracted with Third-Party Plaintiff Tod Williams

 Billie Tsien Architects, LLP (“TWBTA”) to perform architectural design services.

 (Anderson Dec., Exh. A, ¶ 13). TWBTA, in turn, entered into subconsultant

 agreements with the Jacobs Defendants for design services. (Anderson Dec., Exh.


 SMRH:4812-9021-0752.1                          -1-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 6 of 16 PageID: 728



 A, ¶ 14). Princeton also separately contracted with Sciame to perform construction

 management services. (Anderson Dec., Exh. A, ¶ 15). At no point did the Jacobs

 Defendants and Sciame ever enter into any contract or agreement with each other

 related to the Project.

                   On December 10, 2019, Princeton commenced litigation against the

 Jacobs Defendants, among others, alleging breach of contract and negligence.

 (Anderson Dec., Exh. A, ¶¶ 83-92). In its breach of contract cause of action,

 Princeton alleges that it was a third-party beneficiary to the contract between

 TWBTA and the Jacobs Defendants, and that the Jacobs Defendants breached their

 contract with TWBTA by “failing to adequately consult on and evaluate technical

 considerations related to the design and construction of the Project and to coordinate

 their services with those of TWBTA so as to prevent the numerous errors, omissions,

 delays and other defects that developed on the Project.” (Anderson Dec., Exh. A, ¶

 85). By its terms, this claim had nothing to do with Sciame’s work on the Project.

                   In its negligence cause of action, Princeton alleges that the Jacobs

 Defendants breached their duty of care to perform their “technical engineering

 and/or architectural work in accordance with the reasonable standard of care

 expected of similarly situated professionals performing such work on comparable

 projects.”        (Anderson Dec., Exh. A, ¶ 90). Again, this claim has no relation

 whatsoever to Sciame’s work on the Project.



 SMRH:4812-9021-0752.1                       -2-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 7 of 16 PageID: 729



                   On January 21, 2020, the Jacobs Defendants filed their Answer with

 Counterclaims and Cross-Claims, which alleged no causes of action against Sciame

 (the “Answer”). However, the Jacobs Defendants now seek to supplemental and/or

 amend their Answer to include cross-claims against Sciame for indemnification and

 contribution. The Jacobs Defendants’ Motion to Amend must be denied because

 these claims against Sciame are futile, and therefore under Third Circuit precedent,

 the amendments should not be permitted.


 LEGAL STANDARD

 A. Legal Standard on a Motion to Amend

                   The Court has discretion to deny a motion for leave to amend a pleading

 pursuant to FRCP 15 when the amendment would be futile. See State Capital Title

 & Abstract Co. v. Pappas Bus. Servs., LLC, 646 F. Supp. 2d 668, 680 (D.N.J. 2009).

 “Under Rule 15(a), futility of amendment is a sufficient basis to deny leave to

 amend. Futility means that the complaint, as amended, would fail to state a claim

 upon which relief could be granted. The standard for assessing futility is the same

 standard of legal sufficiency as applies under Federal Rule of Civil Procedure

 12(b)(6).” Great W. Mining & Mineral Co. v. Fox Rothschild LLP, 615 F.3d 159,

 175 (3d Cir. 2010) (internal citations and brackets omitted); see also State Capital

 Title & Abstract Co., 646 F. Supp. 2d at 680 (citing In re Burlington Coat Factory

 Sec. Litig., 114 F.3d 1410, 1434 (3d Cir. 1997) (“Under Third Circuit precedent, a


 SMRH:4812-9021-0752.1                        -3-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 8 of 16 PageID: 730



 futile amendment is one that fails to state a claim upon which relief could be

 granted.”). Here, the Court should deny the Jacobs Defendants’ Motion to Amend

 because the proposed amendments against Sciame fail to state a cause of action and

 are therefore futile. See Great W. Mining & Mineral Co., 615 F.3d at 179 (affirming

 lower court’s denial of motion for leave to amend because the amendment would be

 futile); Harter v. GAF Corp., 150 F.R.D. 502, 512 (D.N.J. 1993) (affirming lower

 court’s denial of motion for leave to amend because the amendment would not

 satisfy the legal standard for its claim).


 B. The Jacobs Defendants’ Proposed Amendments Against Sciame Fail to
 State a Claim Upon Which Relief Could be Granted and are Therefore Futile

                   The Jacobs Defendants argue that the Court should grant them leave to

 file supplemental and/or amended claims against Sciame, alleging without analysis

 that the claims for contribution and indemnity “are not futile.” Motion to Amend at

 p. 4. However, a closer inspection of the proposed amendments shows that both fail

 to state a claim upon which relief could be granted, and both would be dismissed

 under a FRCP 12(b)(6) standard.

               1. The Jacob Defendants’ Claim for Indemnification Must Fail
          Because There is No Special Relationship Between the Parties

                   “Under New Jersey law, two different situations can give rise to

 indemnification: either when a contract expressly provides for it, or when a special

 legal relationship creates an implied right of indemnity.”         Ford Motor Co. v.


 SMRH:4812-9021-0752.1                        -4-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 9 of 16 PageID: 731



 Edgewood Props., 2008 U.S. Dist. LEXIS 84776, at *60 (D.N.J. Oct. 16, 2008)

 (internal quotations omitted).        The Jacob Defendants’ cause of action for

 indemnification fails under either theory. It is clear from the face of the Jacobs

 Defendants’ proposed Amended and Supplemental Answer, Affirmative Defenses,

 Counterclaim, and Cross-Claims (“Proposed Amended Answer”) that no contract

 between Sciame and the Jacobs Defendants exists, and therefore the Jacobs

 Defendants cannot reasonably claim, as they do, that Sciame is obligated “by

 operation of . . . contract . . . to indemnify” them. (Anderson Dec., Exh. B, ¶ 39).

 As for the Jacobs Defendants’ claim that Sciame must indemnify it under a theory

 of “implied,” or common law indemnity, the Jacobs Defendants’ claim is likewise

 insufficient.

                   Under New Jersey law, an implied right of indemnity may only exist

 when there is a special legal relationship between the parties. “[I]t is the existence

 of a special legal relationship sufficient to impose certain duties and a subsequent

 breach of those duties that permits an implied indemnification.” Ford Motor Co.,

 2008 U.S. Dist. LEXIS 84776, at *60. “[W]hile the case law is not exhaustive,

 examples of special relationships are: principal-agent, employer-employee, lessor-

 lessee, and bailor-bailee.” SGS U.S. Testing Co. v. Takata Corp., 2012 U.S. Dist.

 LEXIS 102650, *10 (D.N.J. July 24, 2012). In fact, “implied indemnification by

 way of a special relationship is a narrow doctrine that is not frequently stretched



 SMRH:4812-9021-0752.1                      -5-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 10 of 16 PageID: 732



 beyond the examples of principal-agent, employer-employee, lessor-lessee, and

 bailor-bailee.” Id.

                   Here, the Jacobs Defendants have completely failed to allege, nor is

 there any factual or legal basis to allege, any special relationship between them and

 Sciame, let alone a relationship that would give rise to an implied indemnification

 claim. On that basis alone, the third cause of action in the Jacobs Defendants’

 proposed Amended Answer must be dismissed. See Ford Motor Co., 2008 U.S.

 Dist. LEXIS 84776, at *60-61 (dismissing common law indemnity claim for failure

 “to plead the existence of a special legal relationship.”).

                   Moreover, the Jacobs Defendants are unable allege any special

 relationship sufficient to give rise to implied indemnity because none exists. There

 is no relationship between Sciame and the Jacobs Defendants- there was no

 principal-agent relationship, no employer-employee relationship, no lessor-lessee

 relationship, and no bailor-bailee relationship. Outside of those four main special

 relationships that have arisen in New Jersey, courts have also held that a vendor-

 vendee relationship and a longstanding business relationship do not qualify as

 “special.”        Here, there was even less of a relationship, let alone a “special

 relationship” between the parties than that of a vendor-vendee, and there have been

 no allegations, nor can there be, that Sciame and the Jacobs Defendants have ever

 had a business relationship, let alone a long standing relationship. See Premier



 SMRH:4812-9021-0752.1                       -6-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 11 of 16 PageID: 733



 Health Assocs., LLC v. Med. Tech. Sols., 2019 U.S. Dist. LEXIS 57243, at *10

 (D.N.J. Apr. 3, 2019) (dismissing implied indemnity claims when there was “far less

 of a relationship between the parties” than a vendee-vendor relationship, which has

 been traditionally rejected by the courts in an implied indemnity situation.). Sciame

 did not oversee the Jacobs Defendants’ work, nor did the Jacobs Defendants oversee

 Sciame’s work. The Jacobs Defendants did not sell any materials to Sciame, nor did

 Sciame sell any material to the Jacobs Defendants. They had no longstanding

 business relationship. Because the Jacobs Defendants have failed to allege any

 special relationship exists, and because the Jacobs Defendants are unable to allege a

 special relationship, the Jacobs Defendants’ claim for implied indemnification must

 fail. Therefore, the proposed amendments are futile and the Court should deny the

 Jacobs Defendants’ Motion to Amend.

               2. The Jacobs Defendants’ Claim for Contribution Must Fail Because
          Sciame is Not a Joint Tortfeasor

                   In one sentence, without any supporting facts, the Jacobs Defendants

 summarily allege that Sciame is a “joint tortfeasor with respect to any loss, liability

 or expense.” (Anderson Dec., Exh. B, ¶ 45). The New Jersey Joint Tortfeasors

 Contribution Act provides:

                   Where injury or damage is suffered by any person as a
                   result of the wrongful act, neglect or default of joint
                   tortfeasors, and the person so suffering injury or damage
                   recovers a money judgment or judgments for such injury
                   or damage against one or more of the joint tortfeasors,

 SMRH:4812-9021-0752.1                        -7-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 12 of 16 PageID: 734



                   either in one action or in separate actions, and any one of
                   the joint tortfeasors pays such judgment in whole or in
                   part, he shall be entitled to recover contribution from the
                   other joint tortfeasor or joint tortfeasors for the excess so
                   paid over his pro rata share. . .

 N.J.S.A. 2A:53A-3. The Joint Tortfeasor Contribution Act defines “tortfeasors” as

 “two or more persons jointly or severally liable in tort for the same injury to person

 or property, whether or not judgment has been recovered against all or some of

 them.” N.J.S.A. 2A:53A-1 (emphasis added). “The Comparative Negligence Act,

 which modifies the Joint Tortfeasor’s Contribution Act, does not change the

 meaning of joint tortfeasor under the Joint Tortfeasor’s Contribution Act. It merely

 makes the quantum of contribution dependent upon the percentage of negligence

 rather than the number of defendants.” Wundrack v. Armstrong World Indus., Inc.,

 1991 U.S. Dist. LEXIS 14526, at *23 (D.N.J. May 28, 1991). Under either statutory

 scheme, as discussed below, Sciame cannot be considered a joint tortfeasor because

 it cannot be liable in tort for injuries to Princeton.

                   First, although Princeton has not alleged any causes of action against

 Sciame, the limited factual allegations in the Jacobs Defendants’ Proposed Amended

 Answer and the facts in Princeton’s Complaint indicate that any potential claims

 against Sciame would be grounded in contract law, not tort. The contract between

 Sciame and Princeton includes contractual remedies for any economic damages

 incurred by Princeton. Courts in New Jersey have held that damages for negligence



 SMRH:4812-9021-0752.1                          -8-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 13 of 16 PageID: 735



 are not available when there is a contract between the parties that governs. Meyers

 v. Heffernan, 2014 U.S. Dist. LEXIS 92117, at *33 (D.N.J. July 7, 2014) (dismissing

 contribution claim because “the nature of the injuries identified with the plaintiffs’

 cause of action are more analogous to breach of contract”). Because Princeton

 would not be able to assert a negligence claim against Sciame, the Jacobs Defendants

 cannot allege that Sciame is a joint tortfeasor. See Longport Ocean Plaza Condo.,

 Inc. v. Robert Cato & Assocs., 2002 U.S. Dist. LEXIS 16334, at *8 (E.D. Pa. Aug.

 29, 2002); Kornblith v. Rothe, 1991 U.S. Dist. LEXIS 711, at *9 (D.N.J. Jan. 23,

 1991). Because Princeton would not be able to assert a negligence claim against

 Sciame, the Jacobs Defendants cannot, as a matter of law, assert a claim for

 contribution against Sciame.

                   Further, even if the Jacobs Defendants were able to assert a contribution

 claim against Sciame, the Jacobs Defendants have failed to allege the requisite facts

 in order to show that Sciame is a joint tortfeasor (which it is not). Nowhere in the

 Proposed Amended Answer do the Jacobs Defendants allege that Sciame had a duty

 to Princeton outside of its contractual obligations. Certainly, Sciame did not have

 any duty of care to perform technical engineering and/or architectural services in

 accordance with the reasonable standard of care expected for such professionals,

 which is the gravamen of Plaintiff’s negligence claim against the Jacobs Defendants.




 SMRH:4812-9021-0752.1                         -9-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 14 of 16 PageID: 736



 Nowhere in the Proposed Amended Answer do the Jacobs Defendants allege that

 Sciame breached its non-existent duty.

                   The face of the Proposed Amended Answer is insufficient to state a

 cause of action for contribution because there are no factual allegations related to

 how Sciame can be considered a joint tortfeasor within the meaning of The Joint

 Tortfeasor Contribution Act. The Jacobs Defendants fail to allege (and cannot

 allege) that Sciame was ever negligent in performing its contractual obligations and

 make only conclusory allegations. Specifically, the Jacobs Defendants allege that

 Sciame entered into a contract with Princeton, deviated from the plans and

 specifications within the contract, made decisions and substitutions which altered

 the contract documents, and submitted change orders and requests for information.

 (Anderson Dec., Exh. B ¶¶ 23-25). These limited factual allegations do not support

 any theory of negligence. See Ford Motor Co. v. Edgewood Props., U.S. Dist.

 LEXIS 80191, at *55-56 (D.N.J. Oct. 8, 2008) (dismissing contribution claim for

 failure to provide any supporting factual allegations that “raise a right to relief above

 the speculative level.”); Doe, 148 F. Supp. 2d at 497 (“[l]egal conclusions made in

 the guise of factual allegations, however, are given no presumption of

 truthfulness.”). Therefore, the Jacobs Defendants have failed to sufficiently allege

 that Sciame could be liable to Princeton in tort law, let alone meet the definition of

 a joint tortfeasor. See, e.g., Mobile Dredging & Pumping Co. v. City of Gloucester,



 SMRH:4812-9021-0752.1                      -10-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 15 of 16 PageID: 737



 2005 U.S. Dist. LEXIS 16601, at *14 (D.N.J. Aug. 4, 2005) (dismissing claim for

 contribution because third-party defendant did “not satisfy the definition of joint

 tortfeasors, as defined by New Jersey statute.”).       Accordingly, any claim for

 contribution is insufficient under the standard set forth under FRCP 12(b)(6) and the

 Jacobs Defendants’ Motion to Amend should be denied.

                   Moreover, even if Sciame can somehow be considered a joint

 tortfeasor, Sciame has already executed a settlement agreement with Princeton

 wherein the parties have released each other. (Anderson Dec., ¶ 5). “New Jersey

 courts have long held that settlement with a joint tortfeasor . . . bars an action for

 contribution against the settling wrongdoer. . . . Consequently, a court should dismiss

 a non-settler’s cross-claim for contribution as a matter of law as a result of a

 settlement . . .” McIlwaine v. Am. Honda Motor Co., 2010 U.S. Dist. LEXIS 4679,

 at *5-6 (D.N.J. Jan. 19, 2010) (internal quotations and citations omitted); see also

 Wartsila NSD N. Am., Inc. v. Hill Int’l, Inc., 2004 U.S. Dist. LEXIS 28921, at *23

 (D.N.J. June 22, 2004); Theobald v. Angelos, 44 N.J. 228, 232 (N.J. 1965); Verni ex

 rel. Burstein v. Harry M. Stevens, Inc., 387 N.J.Super. 160, 207 (App. Div. 2006)

 (“Settling defendants have no further liability to any party beyond that provided in

 the terms of the settlement. Thus, even if the non-settler has cross-claimed for

 contribution, that claim is dismissed as a matter of law…”).




 SMRH:4812-9021-0752.1                    -11-
Case 3:19-cv-21248-BRM-LHG Document 51 Filed 06/22/20 Page 16 of 16 PageID: 738



 CONCLUSION

                   Because the Jacobs Defendants cannot, as a matter of law, sustain their

 claim against Sciame for indemnification or contribution, the Jacobs Defendants’

 Motion to Amend must be denied.



     Dated: New York, New York                       Respectfully submitted,
            June 22, 2020
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 SMRH:4812-9021-0752.1                        -12-
